Case 1:21-cv-00119-AJT-MSN Document 34 Filed 07/06/21 Page 1 of 2 PageID# 177




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 Kevin Cavey,
 individually and on behalf of all others              Civ. No. 1:21-cv-00119 (AJT/MSN)
 similarly situated,

                        Plaintiff,                           NOTICE OF APPEAL

 v.

 Marketpro Homebuyers LLC,

                        Defendant.


       NOTICE IS HEREBY GIVEN that Plaintiff Kevin Cavey appeals to the United States

Court of Appeals for the Fourth Circuit from the final judgment entered in this action on the 7th

day of June, 2021.
Case 1:21-cv-00119-AJT-MSN Document 34 Filed 07/06/21 Page 2 of 2 PageID# 178




Dated this 6th day of July, 2021.

                                      Respectfully Submitted,


                                      By:        /s/ Kristi C. Kelly
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